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 EXHIBIT 68
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RE: East Precinct
From:     "Mahaffey, Thomas" <"/o=exchangelabs/ou=exchange administrative group
          (fydibohf23spdlt)/cn=recipients/cn=98f176694cde45f6843407e4d8e7c3b8-mahafft">
To:       "Zwaschka, Andrew" <andrew.zwaschka@seattle.gov>
Date:     Tue , 09 Jun 2020 19:40:33 -0700

Thanks Andy, this has been a very stressful time and I have had to face situations and make decisions
that I would never have imagined. I did mean what I said and that was the direction I really wanted
us to go, I never wanted us to give up one of our precincts. I, along with the other commanders
assigned to the events over the past week realized we could not continue going toe to toe with the
crowd at 11 and Pine every night. We were getting too many officers hurt and had no support for
our tactics . I suggested a different strategy that was unfortunately not agreed to by others. I'm still
hopeful that the City will not capitulate and we will be able to get back in the East Precinct soon.

B/R,

TM


From: Zwaschka, Andrew <Andrew.Zwaschka@seattle.gov>
Sent: Monday, June 8, 2020 11 :33 PM
To: Mahaffey, Thomas <Thomas.Mahaffey@seattle.gov>
Subject: RE: East Precinct

Chief, I know you've probably received a lot of emails about the events at the East Precinct and our
maintaining security vs moving back in an attempt to de-escalate the situation and remove ourselves
as the focal point of aggression.

I know this is something that you have most likely agonized over. From the day I met you as an A/LT
and I was an A/Sgt you have always been straight with me and I believe your emails were from the
hart and was your intention at the time you sent them .

I support YOU chief. I have sung your praises as have many others in the last day or two. You keep
doing what you're doing, despite the absolute cheap shot from the likes of the clerk at the West
Precinct I know you have the Officer's and Department's best interests in mind in all you decisions.

Please let me know if there is anything you need that you think I could do for you, get you a radio
battery, gas your vehicle, something maybe more important .... I'll get it done.

AZ


From: Mahaffey, Thomas <Thomas .Mahaffey@seattle.gov>
Sent: Monday, June 8, 2020 3:28 PM
To: SPDSWORN <SPDSWORN@Seattle.Gov>
Subject: East Precinct


To the Women and Men of the Seattle Police Department,




                                                                                                           SEA_00025228
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The decision has been made to allow demonstrators to march
past the East Precinct later today. Your safety and the security
of our facilities are my highest priorities. Additional measures
are currently underway to enhance our ongoing efforts to insure
the security of our East Precinct and provide for the safety of all
our officers.
We will have personnel in place should the need arise to swiftly
address acts of violence and/or property destruction.
I want to express my sincere appreciation and admiration for
your continued efforts to protect this City and one another
during this extremely challenging time.


Assistant Chief Tom Mahaffey
Seattle Police Department
Patrol Operations Bureau
(206)684-S782
https://twitter.com/@SeattlePD
https://spdblotter.seattle.gov/




                                                                       SEA_00025229
